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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                         :      Chapter 11
                                                          :
Earth Fare, Inc., et al.                                  :      Case No. 20-10256 (KBO)
                                                          :
                                                          :      Jointly Administered
                                                          :      NOTICE OF APPOINTMENT OF
          Debtor(s).                                      :      COMMITTEE OF UNSECURED
----------------------------------                        :      CREDITORS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 United Natural Foods, Inc., Attn: Nicholas Leitzes, 313 Iron Horse Way, Providence, RI
                   02908, Phone: 401-528-8634, Ext. 32315, Fax: 866-284-2288

2.                 Inland Fresh Seafood Corporation of America, Inc., Attn: Les A. Schneider, 969 Castle
                   Falls Drive NE, Atlanta, GA 30329, Phone: 678-662-3816

3.                 Southeastern Products, Inc., Attn: Colleen Teodosio, 145 Southchase Blvd., Fountain Inn,
                   SC 29644, Phone: 864-233-9023, Fax: 864-235-0775

4.                 First Source, LLC, Attn: Nancy Nehl, 100 Pirson Parkway, Tonawanda, NY 14150, Phone:
                   716-389-0235, Fax: 716-864-2211

5.                 National Water Services, Attn: Ramon Lovato, 1217 Parkway Drive, Ste. B, Santa Fe, NM
                   87507, Phone: 505-471-5200




                                                  ANDREW R. VARA
                                                  United States Trustee, Region 3


                                                  /s/ Jane Leamy for
                                                  T. PATRICK TINKER
                                                  ASSISTANT UNITED STATES TRUSTEE

DATED: February 11, 2020

Attorney assigned to this Case: Jane Leamy, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: M. Blake Cleary, Esq., Phone: 302-571-6600, Fax: 302-571-1253
